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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

MWK RECRUITING, INC.                             §
                                                 §
VS.                                              §           No. 1:18-cv-0444 RP
                                                 §
EVAN P. JOWERS, et al.                           §

                                             ORDER

       Pursuant to the discussion at the discovery conference that took place this morning, the Court

ORDERS that Dkt. No. 266 and the attachments thereto be SEALED. The Court further orders that

by 10:00 a.m. on March 25, 2021, MWK Recruiting, Inc. provide counsel for the defendant a list of

the items contained in that filing it has designated as “confidential” or “attorney’s eyes only.” No

later than Friday, March 26, 2021, Evan Jowers is ordered to refile the Motion for Summary

consistent with the requirements of the Confidentiality and Protective Order in this case (Dkt. 70),

with the documents identified by MWK filed under seal, and any quotations from confidential

documents redacted.

       Further, the Court ORDERS that Dkt. 267-1 be SEALED, and the quotations from the

deposition that are contained on pages 2-3 of Dkt. 267 be SEALED, and the Clerk replace those

pages in the public record with pages in which the quotations are redacted.

       SIGNED this 24th day of March, 2021.



                                            _____________________________________
                                            ANDREW W. AUSTIN
                                            UNITED STATES MAGISTRATE JUDGE
